                                                           IT IS ORDERED
                                                           Date Entered on Docket: June 25, 2019




                                                 ________________________________
                                                 The Honorable David T. Thuma
                                                 United COURT
                             UNITED STATES BANKRUPTCY   States Bankruptcy Judge
______________________________________________________________________
                         DISTRICT OF NEW MEXICO

  IN RE:                                            §
                                                    §   CASE NO.19-10437-t7
  KENNETH RAY BRUTON                                §
  a/k/a KENNY BRUTON,                               §   CHAPTER 7
                                                    §
           Debtor.                                  §

                DEFAULT ORDER GRANTING 21ST MORTGAGE CORPORATION
                      RELIEF FROM STAY AND ABANDONMENT OF
                    REAL PROPERTY AND 2007 MANUFACTURED HOME

           This matter came before the Court on the Motion for Relief from Stay and to Abandon real

  property and 2007 Manufactured Home filed on May 21, 2019 ( Docket No. 20 ) (the “Motion”) by

  21st Mortgage Corporation (“Movant”). The Court, having reviewed the record and the Motion, and

  being otherwise sufficiently informed, FINDS:

           1.     On May 21,2019, Movant served the Motion and a Notice of the Motion (the

  “Notice”) on Debtor, by First Class mail as listed on creditor matrix and the Debtor’s attorney and

  case trustee (the “Trustee”) and by use of the Court’s case management and electronic filing system

  for the transmission of notices, as authorized by Fed. R. Civ. P. 5(b)(3) and NM LBR 9036-1, and

  on all parties listed on the Debtor’s creditor matrix by United States First Class mail, in accordance




   Case 19-10437-t7        Doc 22     Filed 06/25/19     Entered 06/25/19 11:49:57 Page 1 of 5
with Bankruptcy Rules 7004 and 9014.

          2.   The Motion relates to the following property (“Property”) real property and

manufactured home located in Fence Lake, Cibola County, New Mexico, 87315, and described as

follows:

               Parcel 3, as the same is shown on “Boundary Survey for Kenneth
               Bruton of the Resubdivision of the SW 1/4 of Section 8, T 5 N, R 17
               W, NMPM, Fence Lake, Cibola County, New Mexico, March 06,
               2007", as such Plat is filed in the Officle of the County Clerk of
               Cibola County, New Mexico on the 13th day of March, 2007 in Book
               17, Page 385. (Cab. A/338)

               including the 2007 Palm Harbor Manufactured Home, Serial Number
               MP1513930AB attached thereto.


          3.   The Notice specified an objection deadline of 21 days from the date of service of the

Notice, to which three days was added under Bankruptcy Rule 9006(f);

          4.   The Notice was sufficient in form and content;

          5.   The objection deadline expired on June 14, 2019;

          6.   As of June 17, 2019, neither the Debtor nor the Trustee, nor any other party in

interest, filed an objection to the Motion;

          7.   The Motion is well taken and should be granted as provided herein; and

          8.   By submitting this Order to the Court for entry, the undersigned counsel for Movant

certifies under penalty of perjury that, on June 19, 2019, my assistant searched the data banks of the

Department of Defense Manpower Data Center (“DMDC”), and found that the DMDC does not

possess any information indicating that the Debtor is currently on active military duty of the United

States.




 Case 19-10437-t7        Doc 22     Filed 06/25/19     Entered 06/25/19 11:49:57 Page 2 of 5
IT IS THEREFORE ORDERED:

       1.       Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens against the

Property, of any lien priority, are hereby are granted relief from the automatic stay:

                (a)    To enforce their rights in the Property, including foreclosure of liens and a

                foreclosure sale, under the terms of any pre-petition notes, mortgages, security

                agreements, and/or other agreements to which Debtor is a party, to the extent

                permitted by applicable non-bankruptcy law, such as by commencing or proceeding

                with appropriate action against the Debtors or the Property, or both, in any court of

                competent jurisdiction; and

                (b)    To exercise any other right or remedy available to them under law or equity

                with respect to the Property.

       2.       The Trustee is deemed to have abandoned the Property from the estate pursuant to

11 U.S.C. §554 as of the date of entry of this Order, and the Property therefore no longer is property

of the estate. As a result, Movant need not name the Trustee as a defendant in any state court action

it may pursue to foreclosure liens against the Property and need not notify the Trustee of any sale of

the Property.

       3.       The automatic stay is not modified to permit any act to collect any deficiency or other

obligation as a personal liability of the Debtor, although the Debtor can be named as a defendant in

litigation to obtain an in rem judgment or to repossess the Property in accordance with applicable

non-bankruptcy law.

       4.       This Order does not waive Movant’s claim against the estate for any deficiency owed

by the Debtors after any foreclosure sale or other disposition of the Property. Movant may filed an

amended proof of claim in this bankruptcy case within 30 days after a foreclosure sale of the




 Case 19-10437-t7        Doc 22     Filed 06/25/19      Entered 06/25/19 11:49:57 Page 3 of 5
Property, should it claim that Debtors owe any amount after the sale of the Property.

       5.      This Order shall continue in full force and effect if this case is dismissed or converted

to a case under another chapter of the Bankruptcy Code.

       6.      This order is effective and enforceable upon entry. The 14-day stay requirement of

Fed. R. Bankr. P. 4001(a)(3) is waived.

                                     *** END OF ORDER ***




Submitted by:

By:        /s/ Susan P. Crawford
       Susan P. Crawford
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 Case 19-10437-t7       Doc 22      Filed 06/25/19      Entered 06/25/19 11:49:57 Page 4 of 5
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 Case 19-10437-t7    Doc 22    Filed 06/25/19   Entered 06/25/19 11:49:57 Page 5 of 5
